                  Case 10-42759-MBK                              Doc 1          Filed 10/22/10 Entered 10/22/10 15:24:39                                                   Desc Main
                                                                                Document Page 1 of 46
B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                              District of New Jersey                                                                                Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  McIntosh, Karen L.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-6401
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  103 Boundary Road
  Colts Neck, NJ
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         07722
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Monmouth
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
             Case 10-42759-MBK                      Doc 1       Filed 10/22/10 Entered 10/22/10 15:24:39                                           Desc Main
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B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      McIntosh, Karen L.
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Warren Brumel, Esq.                             October 21, 2010
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Warren Brumel, Esq. WB3626

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(4/10)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           McIntosh, Karen L.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Karen L. McIntosh                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Karen L. McIntosh

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     October 21, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Warren Brumel, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Warren Brumel, Esq. WB3626                                                               debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Warren Brumel
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      65 Main Street
      PO Box 181                                                                               Social-Security number (If the bankrutpcy petition preparer is not
      Keyport, NJ 07735                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                         Email: wbrumel@keyportlaw.com
      732-264-3400 Fax: 732-264-5797
     Telephone Number
     October 21, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Karen L. McIntosh                                                                          Case No.
                                                                                        Debtor(s)       Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                       Page 2

                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
              mental deficiency so as to be incapable of realizing and making rational decisions with respect to
              financial responsibilities.);
                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
              unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
              through the Internet.);
                         Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:           /s/ Karen L. McIntosh
                                                                                         Karen L. McIntosh
                                                          Date:           October 21, 2010




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                              District of New Jersey
  In re          Karen L. McIntosh                                                                               Case No.
                                                                                                            ,
                                                                                           Debtor
                                                                                                                 Chapter                  7




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF        ASSETS               LIABILITIES            OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1               350,000.00


B - Personal Property                                            Yes                3                25,091.66


C - Property Claimed as Exempt                                   Yes                1


D - Creditors Holding Secured Claims                             Yes                2                                      328,893.49


E - Creditors Holding Unsecured                                  Yes                1                                            0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                4                                       84,261.15
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                              2,518.79
    Debtor(s)

J - Current Expenditures of Individual                           Yes                2                                                              5,590.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          17


                                                                           Total Assets             375,091.66


                                                                                             Total Liabilities             413,154.64




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                              District of New Jersey
  In re           Karen L. McIntosh                                                                                       Case No.
                                                                                                               ,
                                                                                             Debtor
                                                                                                                          Chapter           7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                       Amount

              Domestic Support Obligations (from Schedule E)                                                           0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                       0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                       0.00

              Student Loan Obligations (from Schedule F)                                                               0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                       0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                       0.00

                                                                                     TOTAL                             0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                            2,518.79

              Average Expenses (from Schedule J, Line 18)                                                          5,590.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                             3,828.93


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       384.86

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                       0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                               84,261.15

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           84,646.01




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B6A (Official Form 6A) (12/07)


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  In re          Karen L. McIntosh                                                                                        Case No.
                                                                                                              ,
                                                                                                Debtor

                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                                  Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

Debtor's residence at                                                                fee simple subject to        -                  350,000.00               316,800.88
103 Boundary Rd                                                                      husband's right of
Colts Neck, NJ                                                                       possession




                                                                                                              Sub-Total >            350,000.00       (Total of this page)

                                                                                                                      Total >        350,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Karen L. McIntosh                                                                                          Case No.
                                                                                                                ,
                                                                                               Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              cash                                                                   -                            10.00

2.    Checking, savings or other financial                      Deposits of money in banking institutions:                             -                           597.78
      accounts, certificates of deposit, or                     joint checking account (50%) at Wachovia Bank
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Household Goods and furnishings (50% joint):                           -                        2,300.00
      including audio, video, and                               couch, bed, dresser, desk, computer, TV, dining
      computer equipment.                                       table and chairs
                                                                Location: 103 Boundary Road, Colts Neck NJ 07722

5.    Books, pictures and other art                         X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          clothing                                                               -                           200.00

7.    Furs and jewelry.                                         jewelry including rings, earrings, pearl pendant                       -                           500.00

8.    Firearms and sports, photographic,                    X
      and other hobby equipment.

9.    Interests in insurance policies.                          cash surrender value                                                   -                        6,698.88
      Name insurance company of each                            SunAmerica Life Insurance Policy A03M00242xx
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.




                                                                                                                                       Sub-Total >          10,306.66
                                                                                                                           (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Karen L. McIntosh                                                                                          Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          Employee 401k savings plan, excluded from debtor                       -                      Unknown
    other pension or profit sharing                             estate
    plans. Give particulars.

13. Stock and interests in incorporated                     X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                         50% interest in time share: Unit 119 Week 3 at Palm                    -                        1,000.00
    estates, and rights or powers                               Beach Shores Resort and Vacation Villas, Palm
    exercisable for the benefit of the                          Beach, FL
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                       Sub-Total >            1,000.00
                                                                                                                           (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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  In re          Karen L. McIntosh                                                                                          Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2007 Nissan Versa 45,000 miles                                          -                       7,000.00
    other vehicles and accessories.
                                                                2005 Nissan Titan                                                       -                       4,275.00

                                                                1994 Harley Davidson motorcycle (inoperable)                            -                       2,500.00

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                    2 dogs: Mojo & Diva                                                     -                           10.00

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >          13,785.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         25,091.66
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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   In re          Karen L. McIntosh                                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                              with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                        Value of                 Current Value of
                    Description of Property                                                Each Exemption                            Claimed                  Property Without
                                                                                                                                    Exemption               Deducting Exemption
Real Property
Debtor's residence at                                                          11 U.S.C. § 522(d)(1)                                      21,625.00                      350,000.00
103 Boundary Rd
Colts Neck, NJ

Cash on Hand
cash                                                                           11 U.S.C. § 522(d)(5)                                            10.00                            10.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Deposits of money in banking institutions:        11 U.S.C. § 522(d)(5)                                                                         100%                            597.78
joint checking account (50%) at Wachovia Bank

Household Goods and Furnishings
Household Goods and furnishings (50% joint):                                   11 U.S.C. § 522(d)(3)                                            100%                         2,300.00
couch, bed, dresser, desk, computer, TV, dining
table and chairs
Location: 103 Boundary Road, Colts Neck NJ
07722

Wearing Apparel
clothing                                                                       11 U.S.C. § 522(d)(3)                                            100%                            200.00

Furs and Jewelry
jewelry including rings, earrings, pearl pendant                               11 U.S.C. § 522(d)(4)                                            100%                            500.00

Interests in Insurance Policies
cash surrender value                                                           11 U.S.C. § 522(d)(8)                                        6,698.88                         6,698.88
SunAmerica Life Insurance Policy A03M00242xx

Automobiles, Trucks, Trailers, and Other Vehicles
1994 Harley Davidson motorcycle (inoperable)                                   11 U.S.C. § 522(d)(2)                                        2,500.00                         2,500.00




                                                                                                                  Total:                  34,431.66                       362,806.66
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Karen L. McIntosh                                                                                              Case No.
                                                                                                                    ,
                                                                                                   Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W            NATURE OF LIEN, AND                           I    Q   U                      PORTION, IF
                                                              T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C                OF PROPERTY
                                                              R
                                                                                  SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxxxxxx2703                                            3/29/07                                                     E
                                                                                                                                  D

Chase Auto Finance                                                    auto loan
Box 15607
Wilmington, DE 19886-1321                                             2007 Nissan Versa 45,000 miles
                                                                  -

                                                                       Value $                                7,000.00                          6,432.75                   0.00
Account No.

Chase Auto Finance                                                     Representing:
Box 901076                                                             Chase Auto Finance                                                    Notice Only
Fort Worth, TX 76101-2076


                                                                       Value $
Account No. xxxx4781                                                  first mortgage

IBM Lender Business Process                                           Debtor's residence at
Services                                                              103 Boundary Rd
14523 SW Millikan Way                                                 Colts Neck, NJ
                                                                  -
Ste 200
Beaverton, OR 97005
                                                                       Value $                              350,000.00                        268,868.46                   0.00
Account No.

BAC Home Loans Servicing                                               Representing:
7105 Corporate Dr                                                      IBM Lender Business Process Services                                  Notice Only
PTX-B-346
Plano, TX 75024

                                                                       Value $
                                                                                                                          Subtotal
 1
_____ continuation sheets attached                                                                                                            275,301.21                   0.00
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   In re          Karen L. McIntosh                                                                                              Case No.
                                                                                                                    ,
                                                                                                   Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                              O    N   I
                                                              D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
                                                                  W               NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                               B
                                                                                 DESCRIPTION AND VALUE
                                                                                                                             I    Q   U
                                                                                                                                             DEDUCTING
                                                              T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                 O   C                   OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                             R
                                                                                     SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxxxxxxxxx0001                                         2/14/06                                                     E
                                                                                                                                  D

Nissan Motor Accept Corp                                              auto loan
PO Box 809111
Dallas, TX 75380-9111                                                 2005 Nissan Titan
                                                                  -

                                                                       Value $                                4,275.00                          4,642.70               367.70
Account No.                                                           50% interest in time share: Unit 119
                                                                      Week 3 at Palm Beach Shores Resort
Palm Beach Shores Resort                                              and Vacation Villas, Palm Beach, FL
Att: Aspen Natl Collections
PO Box 10689
                                                                  -
Brooksville, FL 34603-0689

                                                                       Value $                                1,000.00                          1,017.16                 17.16
Account No. xxxxxxxxxxx2950                                           7/22/06

Wells Fargo Bank                                                      3rd mortgage
PO Box 4233
                                                                    Debtor's residence at
Portland, OR 97208-4233
                                                                  - 103 Boundary Rd
                                                                    Colts Neck, NJ
                                                                       Value $                              350,000.00                         10,122.12                   0.00
Account No. xxxxxxxxxxx7839                                           10/28/07

Wells Fargo Bank, NA                                                  second mortgage
PO Box 13327
                                                                    Debtor's residence at
Roanoke, VA 24040
                                                                  - 103 Boundary Rd
                                                                    Colts Neck, NJ
                                                                       Value $                              350,000.00                         37,810.30                   0.00
Account No.

Wachovia Mortgage                                                      Representing:
Att: Bankruptcy Dept                                                   Wells Fargo Bank, NA                                                  Notice Only
PO Box 659558
San Antonio, TX 78265-9558

                                                                       Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal
                                                                                                                                               53,592.28               384.86
Schedule of Creditors Holding Secured Claims                                                                     (Total of this page)
                                                                                                                           Total              328,893.49               384.86
                                                                                                 (Report on Summary of Schedules)

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  In re          Karen L. McIntosh                                                                                                 Case No.
                                                                                                                      ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0          continuation sheets attached
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   In re          Karen L. McIntosh                                                                                      Case No.
                                                                                                                     ,
                                                                                                   Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxx-xxxx-xxxx-5655                                                     Credit Card                                             T   T
                                                                                                                                                E
                                                                                                                                                D

Chase Bank USA
200 White Clay Center Drive                                                     -
Newark, DE 19711-5466

                                                                                                                                                                     32,795.65
Account No.

JPMorgan Chase Legal Department                                                     Representing:
900 US Highway 9 North                                                              Chase Bank USA                                                                 Notice Only
Suite 600
Woodbridge, NJ 07095-1003


Account No. xxxx-xxxx-xxxx-1393                                                     Credit Card

Citibank South Dakota
PO Box 653091                                                                   -
Dallas, TX 75265-3091

                                                                                                                                                                     13,213.50
Account No.

Capital Management Services                                                         Representing:
726 Exchange Street                                                                 Citibank South Dakota                                                          Notice Only
Suite 700
Buffalo, NY 14210


                                                                                                                                        Subtotal
 3
_____ continuation sheets attached                                                                                                                                   46,009.15
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Karen L. McIntosh                                                                                      Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                                                                                 E
                                                                                                                                            D

United Recovery Systems                                                             Representing:
5800 North Course Drive                                                             Citibank South Dakota                                                   Notice Only
Houston, TX 77072



Account No. xxxx-xxxx-xxxx-1182                                                     Credit Card

Discover Card
PO Box 30943                                                                    -
Salt Lake City, UT 84130

                                                                                                                                                                5,987.00
Account No. xxxxxxxxxxxx9955                                                        Credit Card

GE Money Bank
PO Box 981127                                                                   -
El Paso, TX 79998-1127

                                                                                                                                                                5,720.00
Account No.

Leading Edge Recovery Solutions                                                     Representing:
PO Box 129                                                                          GE Money Bank                                                           Notice Only
Linden, MI 48451-0129



Account No. xxxxxxxxxxxx5836                                                        Credit Card

GE Money Bank
PO Box 981127                                                                   -
El Paso, TX 79998-1127

                                                                                                                                                                1,688.00

           1
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                              13,395.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Karen L. McIntosh                                                                                      Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
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                                                                                                                                        T   T
Account No.                                                                                                                                 E
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Encore Receivable Mgt                                                               Representing:
PO Box 3330                                                                         GE Money Bank                                                           Notice Only
Olathe, KS 66063-3330



Account No. xxxx-xxxx-xxxx-3924                                                     Credit Card

Home Depot
PO Box 689147                                                                   -
Des Moines, IA 50368-9147

                                                                                                                                                              15,481.00
Account No. xxxxxx0446                                                              Medical & Hospital

JFK Medical Center
PO Box 18007                                                                    -
Newark, NJ 07191-8007

                                                                                                                                                                  155.00
Account No.

Rubin & Raine LLC                                                                   Representing:
Box 949                                                                             JFK Medical Center                                                      Notice Only
Eatontown, NJ 07724



Account No. xxI65/G                                                                 Medical & Hospital

Procare Rehab LLC
4 Walter E. Foran Blvd. #203                                                    -
Flemington, NJ 08822

                                                                                                                                                                  765.00

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                              16,401.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Karen L. McIntosh                                                                                            Case No.
                                                                                                                      ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxKA00                                                                 Medical & Hospital                                             E
                                                                                                                                                   D

Dr. Ronald H. Sheppard, DPM
10 Shawnee Drive                                                                -
Watchung, NJ 07069

                                                                                                                                                                         132.00
Account No. xxxx-xxxx-xxxx-2966                                                     Credit Card

TD Bank, NA
PO Box 84037                                                                    -
Columbus, GA 31908-4037

                                                                                                                                                                       8,324.00
Account No.




Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       8,456.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)                84,261.15


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B6G (Official Form 6G) (12/07)


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  In re             Karen L. McIntosh                                                                                 Case No.
                                                                                                           ,
                                                                                           Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Karen L. McIntosh                                                                           Case No.
                                                                                                      ,
                                                                                           Debtor

                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

 In re    Karen L. McIntosh                                                                             Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                               DEBTOR                                             SPOUSE
Occupation                           merchandiser                                            handyman services
Name of Employer                     The Home Depot                                          McIntosh Construction
How long employed                    3 yrs                                                   3 yrs
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       2,478.67          $           0.00
2. Estimate monthly overtime                                                                             $           0.00          $           0.00

3. SUBTOTAL                                                                                              $         2,478.67        $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             300.71      $             0.00
     b. Insurance                                                                                        $             520.85      $             0.00
     c. Union dues                                                                                       $               0.00      $             0.00
     d. Other (Specify):       401k                                                                      $             138.32      $             0.00
                                                                                                         $               0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             959.88      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,518.79        $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00      $         1,000.00
8. Income from real property                                                                             $               0.00      $             0.00
9. Interest and dividends                                                                                $               0.00      $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00      $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00      $             0.00
                                                                                                         $               0.00      $             0.00
12. Pension or retirement income                                                                         $               0.00      $             0.00
13. Other monthly income
(Specify):                                                                                               $               0.00      $             0.00
                                                                                                         $               0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $               0.00      $         1,000.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,518.79        $         1,000.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $              2,518.79
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtor's husband is seeking employment.
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B6J (Official Form 6J) (12/07)

 In re    Karen L. McIntosh                                                                   Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                2,334.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  260.00
                   b. Water and sewer                                                                        $                   50.00
                   c. Telephone                                                                              $                  129.00
                   d. Other Cable/Internet                                                                   $                   70.00
3. Home maintenance (repairs and upkeep)                                                                     $                   50.00
4. Food                                                                                                      $                  400.00
5. Clothing                                                                                                  $                   50.00
6. Laundry and dry cleaning                                                                                  $                   20.00
7. Medical and dental expenses                                                                               $                  100.00
8. Transportation (not including car payments)                                                               $                  300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   80.00
10. Charitable contributions                                                                                 $                   10.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                  114.00
                   b. Life                                                                                   $                   73.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                  150.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                  284.00
                   b. Other second mortgage                                                                  $                  443.00
                   c. Other auto                                                                             $                  473.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other See Detailed Expense Attachment                                                                    $                  200.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                5,590.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                2,518.79
b. Average monthly expenses from Line 18 above                                                               $                5,590.00
c. Monthly net income (a. minus b.)                                                                          $               -3,071.21
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B6J (Official Form 6J) (12/07)
 In re    Karen L. McIntosh                                              Case No.
                                                     Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                         Detailed Expense Attachment




Other Expenditures:
pet/vet                                                                             $               100.00
gifts                                                                               $                25.00
smoking                                                                             $                50.00
haircare                                                                            $                25.00
Total Other Expenditures                                                            $               200.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Karen L. McIntosh                                                                                    Case No.
                                                                                          Debtor(s)               Chapter    7




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of              19
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date October 21, 2010                                                        Signature   /s/ Karen L. McIntosh
                                                                                          Karen L. McIntosh
                                                                                          Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                              District of New Jersey
 In re       Karen L. McIntosh                                                                                 Case No.
                                                                                         Debtor(s)             Chapter        7


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $24,956.60                              2008 wife wages
                          $46,370.00                              2009 wife fed wages
                          $7,297.00                               2009: husband net business earnings
                          $24,418.33                              2010: wife wages
                          $10,000.00                              2010: husband est net earnings




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                                                                                                                                                              2

               2. Income other than from employment or operation of business

     None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE

               3. Payments to creditors

     None      Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                              AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                       AMOUNT PAID              OWING

     None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                      AMOUNT
                                                                                  DATES OF                             PAID OR
                                                                                  PAYMENTS/                          VALUE OF           AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                         TRANSFERS             OWING

     None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                   DATE OF PAYMENT                AMOUNT PAID              OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

     None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                           NATURE OF         COURT OR AGENCY                           STATUS OR
    AND CASE NUMBER                                                           PROCEEDING        AND LOCATION                              DISPOSITION
    Chase Bank USA NA v. Karen L.McIntosh                                     Civil             Superior Court of NJ, Law Division,       Pending
    Docket #L-000078-10                                                                         Monmouth County

     None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                            DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                            DATE OF SEIZURE              PROPERTY

*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                             3

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                       FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                            OF PROPERTY
 Warren Brumel, Esq.                                                            5/21/10, 10/21/10                    $1125.00
 65 Main Street
 PO Box 181
 Keyport, NJ 07735



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                                                                                                                                                                4

                                                                                   DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY
 Money Management International                                                 6/3/10                                 $50.00 pre-bankruptcy briefing
 9009 West Loop South
 Suite 700
 Houston, TX 77096-1719

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                   DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                   DATE                        AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                            AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)          IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                 AND AMOUNT OF FINAL BALANCE                   OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                   DESCRIPTION                 DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                   OF CONTENTS                  SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.




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                                                                                                                                                             5


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY            LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                              DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                          STATUS OR DISPOSITION




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                                                                                                                                                                     6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                                   BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                            NATURE OF BUSINESS         ENDING DATES
 KLM Builders LLC                   XX-XXXXXXX                            421 Dock St                        construction               2008-09
                                                                          Union Beach, NJ 07735

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date October 21, 2010                                                        Signature        /s/ Karen L. McIntosh
                                                                                               Karen L. McIntosh
                                                                                               Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Karen L. McIntosh                                                                                    Case No.
                                                                                          Debtor(s)               Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Chase Auto Finance                                                                        2007 Nissan Versa 45,000 miles

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Nissan Motor Accept Corp                                                                  2005 Nissan Titan

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                                                  Page 2
 Property No. 3

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Palm Beach Shores Resort                                                                  50% interest in time share: Unit 119 Week 3 at Palm Beach
                                                                                           Shores Resort and Vacation Villas, Palm Beach, FL

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                        Lease will be Assumed pursuant to 11
 -NONE-                                                                                                           U.S.C. § 365(p)(2):
                                                                                                                     YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date October 21, 2010                                                        Signature   /s/ Karen L. McIntosh
                                                                                          Karen L. McIntosh
                                                                                          Debtor




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                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Karen L. McIntosh                                                                                     Case No.
                                                                                          Debtor(s)                Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                      $                  1,800.00
              Prior to the filing of this statement I have received                                            $                  1,125.00
              Balance Due                                                                                      $                   675.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding. Proceedings with respect to reaffirmation agreements and any post-Meeting of
               Creditors proceedings.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       October 21, 2010                                                            /s/ Warren Brumel, Esq.
                                                                                          Warren Brumel, Esq. WB3626
                                                                                          Warren Brumel
                                                                                          65 Main Street
                                                                                          PO Box 181
                                                                                          Keyport, NJ 07735
                                                                                          732-264-3400 Fax: 732-264-5797
                                                                                          wbrumel@keyportlaw.com




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF NEW JERSEY
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                               District of New Jersey
 In re       Karen L. McIntosh                                                                                      Case No.
                                                                                        Debtor(s)                   Chapter        7


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Karen L. McIntosh                                                                        X /s/ Karen L. McIntosh                      October 21, 2010
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                        Date

 Case No. (if known)                                                                      X
                                                                                              Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                 United States Bankruptcy Court
                                                                              District of New Jersey
 In re       Karen L. McIntosh                                                                         Case No.
                                                                                         Debtor(s)     Chapter    7




                                                VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      October 21, 2010                                                  /s/ Karen L. McIntosh
                                                                              Karen L. McIntosh
                                                                              Signature of Debtor




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                        BAC Home Loans Servicing
                        7105 Corporate Dr
                        PTX-B-346
                        Plano, TX 75024


                        Capital Management Services
                        726 Exchange Street
                        Suite 700
                        Buffalo, NY 14210


                        Chase Auto Finance
                        Box 15607
                        Wilmington, DE 19886-1321


                        Chase Auto Finance
                        Box 901076
                        Fort Worth, TX 76101-2076


                        Chase Bank USA
                        200 White Clay Center Drive
                        Newark, DE 19711-5466


                        Citibank South Dakota
                        PO Box 653091
                        Dallas, TX 75265-3091


                        Discover Card
                        PO Box 30943
                        Salt Lake City, UT 84130


                        Encore Receivable Mgt
                        PO Box 3330
                        Olathe, KS 66063-3330


                        GE Money Bank
                        PO Box 981127
                        El Paso, TX 79998-1127


                        Home Depot
                        PO Box 689147
                        Des Moines, IA 50368-9147
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                    IBM Lender Business Process Services
                    14523 SW Millikan Way
                    Ste 200
                    Beaverton, OR 97005


                    JFK Medical Center
                    PO Box 18007
                    Newark, NJ 07191-8007


                    JPMorgan Chase Legal Department
                    900 US Highway 9 North
                    Suite 600
                    Woodbridge, NJ 07095-1003


                    Leading Edge Recovery Solutions
                    PO Box 129
                    Linden, MI 48451-0129


                    Nissan Motor Accept Corp
                    PO Box 809111
                    Dallas, TX 75380-9111


                    Palm Beach Shores Resort
                    Att: Aspen Natl Collections
                    PO Box 10689
                    Brooksville, FL 34603-0689


                    Procare Rehab LLC
                    4 Walter E. Foran Blvd. #203
                    Flemington, NJ 08822


                    Rubin & Raine LLC
                    Box 949
                    Eatontown, NJ 07724


                    Dr. Ronald H. Sheppard, DPM
                    10 Shawnee Drive
                    Watchung, NJ 07069


                    TD Bank, NA
                    PO Box 84037
                    Columbus, GA 31908-4037
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                    United Recovery Systems
                    5800 North Course Drive
                    Houston, TX 77072


                    Wachovia Mortgage
                    Att: Bankruptcy Dept
                    PO Box 659558
                    San Antonio, TX 78265-9558


                    Wells Fargo Bank
                    PO Box 4233
                    Portland, OR 97208-4233


                    Wells Fargo Bank, NA
                    PO Box 13327
                    Roanoke, VA 24040
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  B22A (Official Form 22A) (Chapter 7) (04/10)

 In re      Karen L. McIntosh
                                        Debtor(s)                                        According to the information required to be entered on this statement
 Case Number:                                                                              (check one box as directed in Part I, III, or VI of this statement):
                                  (If known)                                                     The presumption arises.
                                                                                                 The presumption does not arise.
                                                                                                 The presumption is temporarily inapplicable.


                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                            AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                                 Part I. MILITARY AND NON-CONSUMER DEBTORS
             Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
             Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
             VIII. Do not complete any of the remaining parts of this statement.
    1A
                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
             38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
             101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
             Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B       Do not complete any of the remaining parts of this statement.
                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
             Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
             Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
             2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
             at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
             days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
             required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
             temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
             are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
             which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
             before your exclusion period ends.
                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C       that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
             National Guard

                                       a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                        I remain on active duty /or/
                                                        I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                       filed;

                                                    OR

                                       b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                              I performed homeland defense activity for a period of at least 90 days, terminating on          , which is less than
                                            540 days before this bankruptcy case was filed.




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                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
             b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2          purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                for Lines 3-11.
             c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                   ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             All figures must reflect average monthly income received from all sources, derived during the six          Column A          Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's          Spouse's
             six-month total by six, and enter the result on the appropriate line.                                       Income            Income

     3       Gross wages, salary, tips, bonuses, overtime, commissions.                                         $        2,836.11 $                 0.00
             Income from the operation of a business, profession or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 4. If you operate more than one
             business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
             not enter a number less than zero. Do not include any part of the business expenses entered on
     4       Line b as a deduction in Part V.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $             3,304.32
              b.     Ordinary and necessary business expenses $                   0.00 $             2,311.50
              c.     Business income                              Subtract Line b from Line a                 $               0.00 $            992.82
             Rents and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                 Debtor                Spouse
              a.    Gross receipts                              $                0.00 $                0.00
              b.    Ordinary and necessary operating expenses $                  0.00 $                0.00
              c.    Rent and other real property income         Subtract Line b from Line a                     $             0.00 $                0.00
     6       Interest, dividends, and royalties.                                                                $             0.00 $                0.00
     7       Pension and retirement income.                                                                     $             0.00 $                0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
     8       expenses of the debtor or the debtor's dependents, including child support paid for that
             purpose. Do not include alimony or separate maintenance payments or amounts paid by your
             spouse if Column B is completed.                                                                   $             0.00 $                0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                        0.00 Spouse $   0.00 $               0.00 $                0.00
             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Do not include alimony or separate maintenance payments paid by your
             spouse if Column B is completed, but include all other payments of alimony or separate
             maintenance. Do not include any benefits received under the Social Security Act or payments
             received as a victim of a war crime, crime against humanity, or as a victim of international or
    10       domestic terrorism.
                                                                        Debtor                   Spouse
              a.                                                  $                      $
              b.                                                  $                      $
             Total and enter on Line 10                                                                         $             0.00 $                0.00
    11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
             Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $              2,836.11 $             992.82




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             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12       Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
             the amount from Line 11, Column A.                                                                              $                    3,828.93

                                                 Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
             enter the result.                                                                                                         $         45,947.16
             Applicable median family income. Enter the median family income for the applicable state and household size.
    14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
              a. Enter debtor's state of residence:                       NJ             b. Enter debtor's household size:       2     $         71,744.00
             Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                 top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                                                        Part VIII. VERIFICATION
             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
             must sign.)
    57                     Date: October 21, 2010                                        Signature: /s/ Karen L. McIntosh
                                                                                                      Karen L. McIntosh
                                                                                                                 (Debtor)




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                                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 04/01/2010 to 09/30/2010.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Home Depot
Year-to-Date Income:
Starting Year-to-Date Income: $7,401.69 from check dated                                 3/19/2010 .
Ending Year-to-Date Income: $24,418.33 from check dated                                  9/17/2010 .
Income for six-month period (Ending-Starting): $17,016.64 .
Average Monthly Income: $2,836.11 .




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                                            Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 04/01/2010 to 09/30/2010.

Line 4 - Income from operation of a business, profession, or farm
Source of Income: McIntosh construction
Income/Expense/Net by Month:
                          Date                                                  Income                         Expense                   Net
 6 Months Ago:                  04/2010                                                   $1,114.86                 $2,133.31                $-1,018.45
 5 Months Ago:                  05/2010                                                   $2,000.00                 $2,224.38                  $-224.38
 4 Months Ago:                  06/2010                                                  $11,900.00                 $2,374.43                 $9,525.57
 3 Months Ago:                  07/2010                                                       $0.00                 $3,891.27                $-3,891.27
 2 Months Ago:                  08/2010                                                   $1,400.00                 $1,722.43                  $-322.43
 Last Month:                    09/2010                                                   $3,411.05                 $1,523.15                 $1,887.90
                      Average per month:                                                  $3,304.32                 $2,311.50
                                                                                                      Average Monthly NET Income:                $992.82




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